                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                               AT KNOXVILLE
______________________________________________________________________________

KATHLEEN HELLE                                )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )       Civil Action No. 3:11-CV-521
                                              )       District Judge Varlan
INTERNATIONAL COLLECTION                      )       Magistrate Judge Guyton
AGENCY, L. L. C., and KEN DOE,                )
                                              )       Jury Trial Demanded
                       Defendants.            )
                                              )


                    STIPULATION OF DISMISSAL WITH PREJUDICE
                             AS TO ALL DEFENDANTS



       IT IS HEREBY STIPULATED AND AGREED to by the Plaintiff and Defendants

International Collection Agency, L.L.C., and Ken Doe (“Defendants”), by and through their

attorneys, that the above-entitled action shall be and hereby is dismissed with prejudice as to all

Defendants, on the merits, without costs, or disbursements, or attorneys’ fees to any party and that

an order of dismissal with prejudice may be entered in the above-entitled action pursuant hereto.

       Respectfully submitted this 6th day of February, 2012.

                                              Attorney for Plaintiff



                                              /s/      Alan C. Lee
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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 6, 2012, a copy of the foregoing was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic case filing system to all
parties indicated on the electronic filing receipt. Parties may access this filing through the
Court’s electronic case filing system.



                                              /s/     Alan C. Lee
                                              Alan C. Lee, Esq.
                                              Attorney for Plaintiff




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